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UNITED STATE DISTRICT COURT 20|6 SEP 16 FH 3: 23
MIDDLE DISTRICT OF FLORIDA

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uRLAHoo. FLoRan'YR'BA
MARY MARTIN,
Plaintiff,
-VS- CASE No.: rome » c;v -\¢02”1 - OQL - J-'ras

CREDIT ONE BANK, N.A.,

Defendant,

COMPLAINT

COMES NOW Plaintiff, Mary Martin, by and through the undersigned counsel, and
sues Defendant, CREDIT ONE BANK, N.A., and in support thereof respectfully alleges
violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”) and
the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq. (“FCCPA”).

INTRODUCTION

l. The TCPA was enacted to prevent companies like CREDIT ONE BANK,
N.A. from invading American citizen’s privacy and prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving
intrusive and unwanted telephone calls.” Mims v. Arrow Fz'n. Servs., LLC, -US--, 132 S.Ct.,
740, 745, 181, L.Ed. 2d 881 (2012).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge
of modern civilization, they wake us up in the morning; they interrupt our dinner at night;
they force the sick and elderly out of bed; they hound us until we want to rip the telephone

out of the Wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to

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give telephone subscribers another option: telling the autodialers to simply stop calling.”
Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 1256 (11th Cir. 2014).

4. According to the Federal Communications Commission (FCC), “Unwanted
calls and texts are the number one complaint to the FCC. There are thousands of complaints
to the FCC every month on both telemarketing and robocalls. The FCC received more than
215,000 TCPA complaints in 2014." Fact Sheet.' Wheeler Proposal to Protect and Empower
Consumers Against Unwanted Robocalls, Texts to Wireless phones, Federal
Communications Commission, (l\/lay 27, 201 5),
http://transition.fcc.gov/Daily_Releases/Daily_Business/ZO15/db0527/DOC-333676Al.pdf.

JURISDICTION AND VENUE

5. This is an action for damages exceeding Seventy-flve Thousand Dollars
($75,000.00) exclusive of attorney fees and costs.

6. Jurisdiction and venue for purposes of this action are appropriate and
conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves
violations of the TCPA.

7. Subject matter jurisdiction, federal question jurisdiction, for purposes of this
action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district
courts shall have original jurisdiction of all civil actions arising under the Constitution, laws,
or treaties of the United States; and this action involves violations of 47 U.S.C. §
227(b)(l)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v.

State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (l lth Cir. 2014)

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8. The alleged violations described herein occurred in Osceola County, Florida.
Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2) as it is the

judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.

FACTUAL ALLEGATIONS

9. Plaintiff is a natural person, and citizen of the State of Florida, residing in
Osceola County, Florida

10. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

11. Plaintiff is an “alleged debtor.”

12. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F.
3d 1265 (llth Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (llth Cir.
2014).

l3. Defendant, CREDIT ONE BANK, N.A., is a corporation with its principal
place of business located at 585 Pilot Rd., Las Vegas, NV 89119 and Which conducts
business in the State of Florida.

14. The debt that is the subject matter of this Complaint is a “consumer debt” as
defined by Florida Statute §559.55(6).

15. CREDIT ONE BANK, N.A. is a “creditor” as defined in Florida Statute

§559.55(5)
16. CREDIT ONE BANK, N.A. called Plaintiff on Plaintiff’s cellular telephone

approximately one hundred twenty times since June 20, 2016, in an attempt to collect a debt.

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17. CREDIT ONE BANK, N.A. attempted to collect an alleged debt from
Plaintiff by this campaign of telephone calls.

18. Upon information and belief, some or all of the calls the Defendant made to
Plaintiff’s cellular telephone number were made using an “automatic telephone dialing
system” which has the capacity to store or produce telephone numbers to be called, using a
random or sequential number generator (including but not limited to a predictive dialer) or an
artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(l)
(hereinafter “autodialer calls”). Plaintiff will testify that she knew it was an autodialer
because of the vast number of calls she received from CREDIT ONE BANK, N.A.. and
because she heard a pause when she answered her phone before a voice came on the line.

19. Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number (863) ***-1992, and was the called party and recipient of Defendant’s calls.

20. Beginning on or about June 20, 2016, CREDIT ONE BANK, N.A. began
bombarding Plaintiff’s cellular telephone (863) ***-1992 in an attempt to collect on a credit
card loan.

21. Defendant knowingly and/or willfully harassed and abused Plaintiff on
numerous occasions by calling Plaintiff’s cellular telephone number up to eight (8) times a
day from approximately June 20, 2016 through the filing of this complaint, with such
frequency as can reasonably be expected to harass, all in an effort to the collection of the

subject account.

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22. On or about July 13, 2016 Plaintiff first requested that the calls to her cell
phone cease. The Plaintiff orally revoked her consent to be called by the Defendant many
more times in an effort to stop the collection calls.

23. Each of the auto dialer calls the Defendant made to the Plaintiff’s cellular
telephone after approximately July 13, 2016 were done so after she had revoked consent.

24. The auto dialer calls from Defendant came from the telephone numbers
including but not limited to (630) 475-5781; (407) 358-6498; (319) 471-4032; (203) 643-
5061; (505) 663-7040; (585) 283-6312 and (319) 471-4032, and when those numbers are
called a pre-recorded voice and/or representative answers and identifies the company as
“-Credit One Bank”.

25. Despite the Plaintiff’s multiple requests for the calls to stop, the Defendant
continued to call the Plaintiff.

26. The Plaintiff received an estimated one hundred (100) calls from the
Defendant between the time she initially revoked her consent to be called on July 13, 2016
and the filing of this law suit and estimates dozens of calls before that time period.

27. Despite the Plaintiff informing Defendant to stop calling, the Defendant called
the Plaintiff repeatedly including but not limited to calls Plaintiff was able to log on August
2, 2016; August 3, 2016; August 4, 2016; August 5, 2016 and August 6, 2016.

28. CREDIT ONE BANK, N.A. has a corporate policy to use an automatic
telephone dialing system or a pre-recorded or artificial voice to individuals just as it did to

Plaintiff`s cellular telephone in this case.

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29. CREDIT ONE BANK, N.A. has a corporate policy to use an automatic
telephone dialing system or a pre-recorded or artificial voice just as it did to Plaintist
cellular telephone in this case, with no way for the consumer, Plaintiff, or CREDIT ONE
BANK, N.A., to remove the number.

30. CREDIT ONE BANK, N.A.’s corporate policy is structured so as to continue
to call individuals like Plaintiff, despite these individuals explaining to CREDIT ONE
BANK, N.A. they wish for the calls to stop,

31. CREDI'I` ONE BANK, N.A. has numerous other federal lawsuits pending
against it alleging similar violations as stated in this Complaint.

32. CREDIT ONE BANK, N.A. has numerous complaints across the country
against it asserting that its automatic telephone dialing system continues to call despite
requested to stop.

33. CREDIT ONE BANK, N.A. has had numerous complaints from consumers
across the country against it asking to not be called; however, Defendant continues to call the
consumers.

34. CREDIT ONE BANK, N.A.’s corporate policy provided no means for
Plaintiff to have her number removed from Defendant’s call list.

35. CREDIT ONE BANK, N.A. has a corporate policy to harass and abuse
individuals despite actual knowledge the called parties do not wish to be called.

36. Not a single call placed by CREDIT ONE BANK, N.A. to Plaintiff were

placed for “emergency purposes” as specified in 47 U.S.C. § 227(b)(l)(A).

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37. CREDIT ONE BANK, N.A. willfully and/or knowingly violated the TCPA
with respect to Plaintiff,

38. From each and every call placed without consent by CREDIT ONE BANK,
N.A. to Plaintiff"s cell phone, Plaintiff suffered the injury of invasion of privacy and the
intrusion upon her right of seclusion.

39. From each and every call without express consent placed by CREDIT ONE
BANK, N.A. to Plaintiff’s cell phone, Plaintiff suffered the injury of occupation of her
cellular telephone line and cellular phone by unwelcome calls, making the phone unavailable
for legitimate callers or outgoing calls while the phone was ringing from CREDIT ONE
BANK, N.A.’s calls,

40. From each and every ca11 placed without express consent by CREDIT ONE
BANK, N.A. to Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary
expenditure of her time. For calls she answered, the time she spent on the call was
unnecessary as she repeatedly asked for the calls to stop, Even for unanswered calls, Plaintiff
had to waste time to unlock the phone and deal with missed call notifications and call logs
that reflected the unwanted calls. This also impaired the usefulness of these features of
Plaintiff’s cellular phone, which are designed to inform the user of important missed
communications

41. Each and every call placed Without express consent by CREDIT ONE BANK,
N.A. to Plaintiff’s cell phone was an injury in the form of a nuisance and annoyance to
Plaintiff`. For calls that were answered, Plaintiff had to go to the unnecessary trouble of

answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the phone

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and deal with missed call notifications and call logs that reflected the unwanted calls. This
also impaired the usefulness of these features of Plaintiff’s cellular phone, which are
designed to inform the user of important missed communications

42. Each and every call placed without express consent by CREDIT ONE BANK,
N.A. to Plaintiffs cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s
cell phone’s battery power.

43. Each and every call placed without express consent by CREDIT ONE BANK,
N.A. to Plaintiff’s cell phone where a voice message was left which occupied space in
Plaintiff’ s phone or network.

44. Each and every call placed without express consent by CREDIT ONE BANK,
N.A. to Plaintiff"s cell phone resulted in the injury of` a trespass to Plaintiff’s chattel, namely
her cellular phone and her cellular phone services

45. As a result of the answered and unanswered calls described above, Plaintiff
suffered an invasion of privacy. Plaintiff was also affected in a personal and individualized
way by stress, anxiety, nervousness, embarrassment, distress, and aggravation Due to both
answered and unanswered calls, Plaintiff suffered the expenditure of Plaintiff`s time,
exhaustion of Plaintiff"s cellular telephone battery, unavailability of Plaintiff’s cellular
telephone while ringing, waste of Plaintiff`s time, causing the risk of personal injury due to
distraction, and trespass upon Plaintiff’s chattels. All of the abovementioned were caused by,
and/or directly related to, Defendant’s attempts to collect a debt from Plaintiff through the

use of automated/predictive dialing technology.

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COUNT I
(Violation of the TCPA)

46. Plaintiff fully incorporates and realleges paragraphs one (1) through forty-five
(45) as if fully set forth herein.
47. CREDIT ONE BANK, N.A. willfully violated the TCPA with respect to
Plaintiff, especially for each of the auto-dialer calls made to Plaintiff’s cellular telephone
after Plaintiff notified CREDIT ONE BANK, N.A. that she wished for the calls to stop.
48. CREDIT ONE BANK, N.A. repeatedly placed non-emergency telephone calls
to Plaintiff’s cellular telephone using an automatic telephone dialing system or prerecorded
or artificial voice without Plaintiff’s prior express consent in violation of federal law,
including 47 U.S.C § 227(b)(l)(A)(iii).
49. WHEREFORE, Plaintiff respectfully demands a trial by jury on all
issues so triable and judgment against CREDIT ONE BANK, N.A. for statutory damages,
punitive damages, actual damages, treble damages, enjoinder from further violations of these
parts and any other such relief the court may deem just and proper.

M
(Violation of the FCCPA)

50. Plaintiff fully incorporates and realleges paragraphs one (1) through forty-five
(45) as if fully set forth herein
51. At all times relevant to this action CREDIT ONE BANK, N.A. is subject to

and must abide by the laws of the State of Florida, including Florida Statute § 559.72.

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52. CREDIT ONE BANK, N.A. has violated Florida Statute § 559.72(7) by
willfully communicating with the debtor or any member of his or her family with such
frequency as can reasonably be expected to harass the debtor or his or her family.

53. CREDIT ONE BANK, N.A. has violated Florida Statute § 559.72(7) by
willfully engaging in other conduct which can reasonably be expected to abuse or harass the
debtor or any member of his or her family.

54. CREDIT ONE BANK, N.A.’s actions have directly and proximately resulted
in Plaintiff’s prior and continuous sustaining of damages as described by Florida Statute §
559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable
and judgment against CREDIT ONE BANK, N.A. for statutory damages, punitive damages,
actual damages, costs, interest, attorney fees, enjoinder from further violations of these parts
and any other such relief the court may deem just and proper.

Respectfully submitted,
/s/Octavio Gomez, Escluire
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